878 F.2d 1430Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Jerome Alexander RIDDICK, Petitioner-Appellant,v.Edward W. MURRAY, Director of the Virginia Department ofCorrections, Respondent-Appellee.
    No. 89-6589.
    United States Court of Appeals, Fourth Circuit.
    Submitted May 30, 1989.Decided July 5, 1989.
    
      Jerome Alexander Riddick, appellant pro se.
      Mary Sue Terry, Marla Lynn Graff, Office of the Attorney General of Virginia, for appellee.
      Before K.K. HALL, CHAPMAN, and WILKINSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      Jerome Alexander Riddick seeks to appeal the district court's order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2254.  Our review of the record and the district court's opinion accepting the recommendation of the magistrate discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.  Riddick v. Murray, C/A No. 88-766-N (E.D.Va. Mar. 16, 1989).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    